     Case 4:10-cv-02386 Document 226 Filed in TXSD on 06/26/18 Page 1 of 1
                                                                                         United States District Court
                                                                                           Southern District of Texas

                                                                                              ENTERED
                        IN THE UNITED STATES DISTRICT COURT                                   June 26, 2018
                                                                                           David J. Bradley, Clerk
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                                   §
EXXON MOBILE CORPORATION                           §
                                                   §
                       Plaintiff,                  §
v.                                                 §   CIVIL ACTION NO. H-10-2386
                                                   §                   H-11-1814
UNITED STATES OF AMERICA                           §
                                                   §
                       Defendant.                  §

                                               ORDER

       This court CANCELS the joint pretrial order deadline of July 26, 2018 and the docket call

setting for August 2, 2018, pending the ruling on the motions for summary judgment. The joint

pretrial order filing deadline and date for docket call will be reset, if appropriate, after the motions

are resolved.

                SIGNED on June 26, 2018, at Houston, Texas.

                                                 ______________________________________
                                                            Lee H. Rosenthal
                                                       Chief United States District Judge
